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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  MPR                                                271 Cadman Plaza East
  F. #2009R01065                                     Brooklyn, New York 11201



                                                     November 2, 2018


  By ECF

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                  Re:   United States v. Joaquin Archivaldo Guzman Loera
                        Criminal Docket No. 09-466 (S-4) (BMC)

  Dear Counsel:

                  Pursuant to 18 U.S.C. § 3500, the government is disclosing to you the enclosed
  material related to its anticipated law enforcement and cooperating witnesses at trial. This
  production supplements the government’s production of such material on July 5, 2018,
  September 5, 2018, October 5, 2018, and October 19, 2018. See Dkt. No. 260. It includes
  material that is marked “Protected Material” and is subject to the terms of the Court’s April 3,
  2017 Protective Order. See Dkt. No. 57. The government will disclose additional § 3500
  material related to its law enforcement and cooperating witnesses as it becomes available.
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                 If you have specific questions about the government’s production, please reach
  out to the prosecution team.

                                                    Very truly yours,

                                                    RICHARD P. DONOGHUE
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                                                    Brooklyn, New York 11201

                                                    ARTHUR G. WYATT, CHIEF
                                                    Narcotic and Dangerous Drug Section
                                                    Criminal Division,
                                                    U.S. Department of Justice

                                                    OF COUNSEL:

                                                    ARIANA FARJARDO ORSHAN
                                                    UNITED STATES ATTORNEY
                                                    Southern District of Florida


  cc:    Clerk of the Court (BMC) (by ECF) (without enclosure)

  Enclosure




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